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                                                                               ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                   DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                                  DATE FILED: May  1, 2015
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JODY RUCKS,
                                                                               STIPULATION OF
                                                                Plaintiff,     SETTLEMENT

                                -against-                                      12 Civ. 4226 (KPF)

THE CITY OF NEW YORK, SERGEANT MICHAEL
O'CONNOR, AND POLICE OFFICERS MICHAEL PERCY
AND ANTHONY BRUNO,
                                                            Defendants.
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                  WHEREAS, plaintiff commenced this action by filing a complaint on or about

May 29, 2012, alleging that the defendants violated plaintiffs federal civil and state common

law rights; and

                  WHEREAS, defendants City of New York, Michael O'Connor, Michael Percy,

and Anthony Bruno have denied any and all liability arising out of plaintiffs allegations; and

                  WHEREAS, the parties now desire to resolve the issues raised in this litigation,

without further proceedings and without admitting any fault or liability; and

                  WHEREAS, plaintiff has authorized his counsel to settle this matter on the terms

set forth below;

                  NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by

and between the undersigned, as follows:

                  I.      The above-referenced action is hereby dismissed against defendants, with

prejudice, and without costs, expenses, or attorneys' fees except as specified in paragraph "2"

below.
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               2.      Defendant City of New York hereby agrees to pay plaintiff Jody Rucks the

sum of Fifty Thousand ($50,000.00) Dollars in full satisfaction of all claims, excluding claims

for costs, expenses and attorneys' fees. In consideration for the payment of this sum, plaintiff

agrees to dismissal of all the claims against the defendants and to release defendants City of New

York, Michael O'Connor, Michael Percy, and Anthony Bruno; their successors or assigns; and

all past and present officials, employees, representatives, and agents of the City of New York or

any entity represented by the Office of the Corporation Counsel, from any and all liability,

claims, or rights of action alleging a violation of plaintiffs civil rights and any and all related

state law claims, from the beginning of the world to the date of the General Release, including

claims for costs, expenses, and attorneys' fees.

               3.      Plaintiff shall execute and deliver to defendant City of New York's

attorney all documents necessary to effect this settlement, including, without limitation, a

General Release based on the terms of paragraph 2 above and an Affidavit of Status of Liens.

Prior to tendering the requisite documents to effect this settlement, Medicare-recipient plaintiffs

must obtain and submit a final demand letter from Medicare for the reimbursement of any

conditional payments made by Medicare for any injury or condition that is the subject of this

lawsuit. A Medicare Set-Aside Trust may also be required if future anticipated medical costs are

found to be necessary pursuant to 42 U.S.C. § 1395y(b) and 42 C.F.R. §§ 411.22 through 411.26.

               4.      Nothing contained herein shall be deemed to be an admission by the

defendants that they have in any manner or way violated plaintiffs rights, or the rights of any

other person or entity, as defined in the constitutions, statutes, ordinances, rules or regulations of

the United States, the State of New York, or the City of New York or any other rules or

regulations of any department or subdivision of the City of New York. This stipulation shall not




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                       6.               PlailrtilT agrees to holcl harnrless clcfþndants rcgnrding any liens or                                              p¿lst


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                                                                                   SO ORDERED.
 Dated: May 1, 2015
        New York, New York
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                                                                                   HON. KATHERINE POLK FAILLA
                                                                                   UNITED STATES DISTRICT JUDGE
